           14-01800-alg       Doc 1-1       Filed 01/31/14 Entered 01/31/14 12:14:44             Statement of
                                                   Account Pg 1 of 3
                                              Starr & Company, LLC
                                       CUSTOMER OPEN INVOICE REPORT
                                          For The Period Ending 12/31/08

                                     DUE        DISC
                                                                                                 OPEN BALANCE
                                     DATE       DATE       DISC AMOUNT   INV AMOUNT
NAME /DATE      TT REF NO




 FA1RES,J - Mr. Jay Faires
                                                                                                           -24,720.94
                                                                                 30,000.00
         01/09/07 CR                                                                                            2,555.26
                                                                                  2,555.26
                                      03/01       03/01                                                         2,702.40
         03/01/07 CI 00018406                                                     2,702.40
                         00018582      04/01      04/01                                                         3,132.20
         04/01/07 CI                                                              3,132-20
                         00018790      05/01      05/01                                                         2,607.62
         05/01/07   a                                                             2,607.62
                         00018958      06/01      06/01                                                         2,554.76
         06/01/07   CI                                                            2,554.76
                         00019143      07/01      07/01                                                         2,541.57
         07/01/07   CI                                                            2,541.57
                         00019340      08/01      08/01                                                         2,509.51
         08/01/07   CI                                                           - 2;509.51
                         00019510      09/01      09/01                                                         2,545.46
         09/01/07   CI                                                                2,545.46
                         00019687      10/01      10/01                                                         2,500.00
          10/01/07 CI                                                                 2,500.00
                         00019878      11/01       11/01                                                        2,500.00
          11/01/07 CI                                                                 2,500.00
                         00020045       12/01      12/01                                                        2,534.69
          12/01/07 CI                                                                 2,534.69
                         00020050      01/01       01/01                                                         2,500.00
          01/01/08 CI                                                                 2,500.00
                         00020246       02/01      02/01                                                         2,530.97
          02/01/08 CI                                                                 2,530.97
                         00020428       03/01      03/01                                                         2,661.95
          03/01/08 CI                                                                 2,661.95
                          00020606      04/01      04/01                                                         2,571.63
          04/01/08 CI                                                                 2,571.63
                          00020817      05/01      05/01                                                         2,623.52
           05/01/08 CI                                                                2,623.52
                          00021006      06/01      06/0)
           06/01/08 CI



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                                               Account Pg 2 of 3
                                              Starr & Company, LLC
                                     CUSTOMER OPEN INVOICE REPORT
                                          For The Period Ending 12/31/08

                                DUE       DISC
NAME/DATE       TT REFNO        DATE      DATE     DISC AMOUNT        INV AMOUNT           OPEN BALANCE
    07/01/08 CI      00021176   07/01     07/01                              2,574.55               2,574.55
    08/01/08 CI      00021376   08/01     08/01                              2,500.00               2,500.00
    09/01/08 CI      00021537   09/01     09/01                              2,539.44               2,539.44
     10/01/08   CI   00021703   10/01      10/01                             2,500.00               2,500.00
     11/01/08 CI     00021903   11/01      11/01                             2,579.26               2,579.26
     12/01/08 CI     00022075   12/01      12/01                             2,642.10               2,642.10
                                                                            Total Due:             32,185.95




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                                       Account Pg 3 of 3
                                     Starr & Company, LLC
                       SALES ANALYSIS BY CUSTOMER REPORT
                                     01/01/09 To 03/01/10

                                      TT       SLS        REFNO   AMOUNT
  CUSTOMER           DATE             TT




   FAIRBS,J - Mr. Jay Faires




                       01/01/10
                       02/01/10

                                                                             24,871.62
                                                 Total:




                                                 17
